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 6                        IN THE UNITED STATES DISTRICT COURT
 7                                 FOR THE DISTRICT OF ARIZONA
 8
 9   United States of America,                         NO. CV-19-04678-PHX-SPL (JFM)
10                   Petitioner,
                                                     JUDGMENT IN A CIVIL CASE
11   v.
12   Eugenii Glushchenko,
13                   Respondent.
14
15          Decision by Court. This action came for consideration before the Court. The
16   issues have been considered and a decision has been rendered.
17          IT IS ORDERED AND ADJUDGED that pursuant to the Court’s Order filed July
18   22, 2019, judgment is entered in favor of plaintiff and this action is dismissed.
19                                              Brian D. Karth
                                                District Court Executive/Clerk of Court
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21   July 22, 2019
                                                s/ S. Quinones
22                                        By    Deputy Clerk
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